Case 2:24-cr-20026-DML-APP ECF No. 56, PageID.421 Filed 03/04/25 Page 1 of 6




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                              Case No. 24-cr-20026
v.
                                              Hon. Sean F. Cox
WILLIE B. HOPKINS,

      Defendant.
____________________________/

     JOINT STIPULATION SEEKING TO CONTINUE FINAL PRE-
             TRIAL CONFERENCE AND TRIAL DATES
               AND TO FIND EXCLUDABLE DELAY

       The United States of America and the defendant, Willie B. Hopkins

stipulate to continue the final pretrial conference date until June 11,

2025, and the jury trial date to October 7, 2025.

       The parties further stipulate, and jointly move for the Court to

find that the period of time from the previous trial date of March 13,

2025, through October 7, 2025 qualifies as excludable delay under the

Speedy Trial Act, 18 U.S.C. § 3161(h)(7), because the ends of justice

served by the granting of this continuance outweigh the best interests of

the public and the defendant in a speedy trial. The parties’ reasons for

the continuance and finding of excludable delay are as follows:
Case 2:24-cr-20026-DML-APP ECF No. 56, PageID.422 Filed 03/04/25 Page 2 of 6




   On January 16, 2025, the Court denied Defendant’s motions to

      suppress statements and evidence and continued the case to trial

      as currently scheduled for March 13, 2025.

   Defense counsel determined, in light of the evidence the

      Government intends to admit at trial, that consultation with

      experts in DNA and cellular location information is necessary for

      the effective preparation for the defense at trial. Counsel needs

      additional time to consult these experts and sought a joint motion

      to adjourn, which was submitted by the parties on February 20,

      2025.

   On February 21, 2025, the Government filed its notice of intent to

      admit other acts evidence under FRE 404(b), which includes

      evidence pertaining to eight then-uncharged robberies. Defense

      counsel needs additional time to evaluate the Government’s

      proffered evidence and adequately prepare for trial or to seek

      exclusion.

     On February 26, 2025, a grand jury returned the First

      Superseding Indictment, which included six additional robbery

      and firearm charges against the defendant. Defense counsel needs


                                     2
Case 2:24-cr-20026-DML-APP ECF No. 56, PageID.423 Filed 03/04/25 Page 3 of 6




      additional time to assess the additional alleged offenses and to

      adequately prepare for trial.

   The parties have conferred regarding resolution in this matter,

      and defense counsel needs additional time to consult with the

      defendant regarding resolution or to otherwise prepare for trial.

     The defendant supports defense counsel’s request for

      adjournment and agrees that the requested delay is necessary for

      the effective preparation of his defense.

   On February 27, 2025, at the hearing on the parties’ joint motion

      to adjourn trial, the Court provided the parties the opportunity to

      further explain their justification in support of granting the

      motion to adjourn dates. The Court verified through voir dire of

      the defendant that he understands his right to a speedy trial,

      desires and consents to the adjournment of his trial to ensure the

      effective preparation of his defense, and that the defendant waives

      any objection under the speedy trial act to the granting of his

      requested delay.




                                      3
Case 2:24-cr-20026-DML-APP ECF No. 56, PageID.424 Filed 03/04/25 Page 4 of 6




   The parties agree that adjourning the trial date to October 7,

     2025, provides sufficient time for effective preparation and agree

     not to seek additional delays in the trial schedule.

     For the forgoing reasons, as well as those provided by the parties

on the record on February 27, 2025, the parties submit that failure to

grant this continuance would unreasonably deny counsel for the

defendant and the attorney for the government reasonable time

necessary for effective preparation, taking into account the exercise of

due diligence, see 18 U.S.C. § 3161(h)(7)(B)(iv).

Respectfully submitted,

JULIE A. BECK
Acting United States Attorney


s/ Michael Taylor                 s/Mark H. Magidson (with consent)
 Michael Taylor                    Mark H. Magidson
 Assistant United States Attorney Attorney for Willie B. Hopkins
 United States Attorney’s Office   One Park Avenue, Suite 1207
 211 W. Fort Street, Suite 2001    David Whitney Building
 Detroit, MI 48226                 Detroit, MI 48226
 Michael.Taylor3@usdoj.gov         Mmag100@aol.com
 (313) 226-9516                    313-963-4311




Dated: February 27, 2025


                                     4
Case 2:24-cr-20026-DML-APP ECF No. 56, PageID.425 Filed 03/04/25 Page 5 of 6




                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                Case No. 24-cr-20026
v.
                                                Hon. Sean F. Cox
WILLIE B. HOPKINS,

      Defendant.
____________________________/

       ORDER ISSUING CONTINUANCE OF TRIAL DATE
           AND FINDING EXCLUDABLE DELAY

     The Court has considered the parties’ joint stipulation and

argument on the record in support of continuing the dates for the final

pretrial conference and jury trial in this matter and for a finding that

the time from the previous trial date of March 13, 2025, through the

new trial date of October 7, 2025, qualifies as excludable delay under

the Speedy Trial Act, 18 U.S.C. § 3161(h)(7).

     For the reasons described in the parties’ submission, and those

provided on the record in open court at the conference held on February

27, 2025, and after considering the factors listed in § 3161(h)(7)(B), the

Court finds that the ends of justice served by granting the parties’

requested continuance outweigh the best interests of the public and the


                                     5
Case 2:24-cr-20026-DML-APP ECF No. 56, PageID.426 Filed 03/04/25 Page 6 of 6




defendant in a speedy trial and that the time from March 13, 2025,

through the new trial date of October 7, 2025, qualifies as excludable

delay under § 3161(h)(7). Specifically, the Court finds that the ends of

justice served by the granting of this continuance outweigh the best

interests of the public and the defendant in a speedy trial.

     The Court also finds based on the parties’ submissions and

argument that such delay provides sufficient time for the effective

preparation of trial and the parties will not request, nor will the Court

entertain, additional delays beyond the trial date listed in this Order.

IT IS THEREFORE ORDERED that the following dates apply:

      Final Pretrial Conference: June 11, 2025, at 3:00 p.m.

      Jury Trial: October 7, 2025, at 8:30 a.m.


      SO ORDERED.


March 4, 2025                                       s/Sean F. Cox
                                                    Sean F. Cox
                                                    U. S. District Judge




                                     6
